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                                                                                    E-FILED
                                                           Monday, 11 July, 2022 04:21:51 PM
                                                               Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
                          SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,           )
                                    )
              Plaintiff,            )
                                    )
v.                                  )     Case No. 21-cr-30009
                                    )
JOSH BEECHLER,                      )
                                    )
                                    )
              Defendant.            )

     UNOPPOSED MOTION TO MODIFY ORDER OF DETENTION

      Now Comes Defendant, JOSH BEECHLER, by and through his

attorney D. Peter Wise, of Gates Wise Schlosser & Goebel, and moves

to modify the order of detention entered on February 19, 2021, stating

as follows:

      1.      On February 3, 2021, Josh Beechler was indicted in the

Central District of Illinois with the offenses of Count 1, Conspiracy to

Commit Escape of Prisoners in Custody of Institution, Count 2,

Conspiracy to Present Contraband in Prison, and Count 11, Providing

or Attempting to Provide Contraband in Prison.

      2.      On February 19, 2021, Magistrate Judge Thomas Schanzle-



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Haskins entered an order detaining Josh Beechler without bond

pending all further proceedings in his case.

     3.    On January 25, 2022, Josh Beechler appeared before

Magistrate Judge Thomas Schanzle-Haskins and pled guilty to Counts

1, 2 and 11.

     4.    On January 25, 2022, Magistrate Judge Thomas Schanzle-

Haskins ordered an expedited presentence report so that Josh

Beechler's sentencing hearing could be expedited due to the

possibility that his USSG guideline range could result in a time served

sentence

     5.    Josh Beechler's sentencing was scheduled for May 27,

2022.

     6.    A PSR was prepared by the United States Probation Office.

Josh Beechler's total offense level was calculated to be 11. His

criminal history category was calculated to be IV. These calculations

yielded a guideline range of 18 to 24 months.

     7.    Josh Beechler and the government resolved all objections

to the presentence report.


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     8.     As of July, 6, 2022, Josh Beechler has been in custody

pending the resolution of his case for 18 months and one week.

     9.     The May 27th sentencing hearing was continued by

agreement of the parties. One condition of the agreement to continue

the sentencing hearing was that the order detaining Josh Beechler

without bond would be modified to allow him to be released on bond

so   that   he   could    participate   in     a   much      needed   drug

treatment/substance abuse program.

     10.    Josh Beechler's current sentencing date is Aug 8, 2022.

     11.    Counsel for Josh Beechler has conferred with United States

Probation Office regarding a drug treatment program for Josh

Beechler. The United States Probation Office has indicated that before

Josh Beechler can be placed in a substance abuse/drug treatment

program he must be released on bond.

     12.    Assistant United States Attorney Tanner Jacobs has no

objection to the modification of the previously entered detention order

so that Josh Beechler is released on an unsecured recognizance bond.

The modified order would require that he be released to the home of


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his wife, Angel Beechler, 3430 North Peoria Road, Lot #167,

Springfield, Illinois 62702.

     13.   Upon his release on bond, the United States Probation

Office will place Josh Beechler in an appropriate substance

abuse/drug treatment program.

     Wherefore, Josh Beechler prays for an order modifying his

detention order so that he is released on an unsecured recognizance

bond to the home of Angel Bechler, located at 3430 North Peoria

Road, Lot #167, Springfield, Illinois 62702, so that he can participate

in a substance abuse/drug treatment program as directed by the

United States Probation Office.


                                  Respectfully submitted,
                                  Josh Beechler - Defendant

                                  s/ D. Peter Wise

D. Peter Wise, Bar Number: 6187876
Gates, Wise, Schlosser & Goebel
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                    CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2022, I electronically filed the
foregoing with the Clerk of the court using the CM/ECF system which
will send notification of such filing to the following:

Tanner Jacobs
Assistant United States Attorney
318 South Sixth Street
Springfield, IL 62701
tanner.jacobs@usdoj.gov

and I hereby certify that I have mailed by United States Postal Service
the document to the following non CM/ECF participants:




s/ D. Peter Wise
D. Peter Wise, Bar Number: 6187876
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